(~f>..l) StaggWabnik                                                                               Debra L. Wabnik
                                                                                                                   Partner



~~-i LAW GROUP                                                                                        Direct 516.812.4504
                                                                                                dwabnik@staggwabnik.com

                                                                                                            Also Admitted NJ


401 Franklin Avenue, Suite 300, Garden City, NY 11530                                                   staggwabnik.com
T 516.812.4500| F 516.812.4600

331 Newman Springs Road, Building 1, 4th Floor, Suite 143, Red Bank, NJ 07701| T 732.784.1586
1111 Summer Street, 5th Floor, Stamford, CT 06905| T 203.967.4000




                                                                   February 23, 2020
Via ECF

Honorable Sandra Feuerstein
United States District Court
Eastern District of New York
100 Federal Plaza
Central Islip, New York 11722

         Re:       Weitzman v. Long Beach City School District, et al.
                   Civil Action No.: 16-cv-3544

Dear Judge Feuerstein:

       We represent Plaintiff in the above matter. As the Court is aware, this matter was closed on December
13, 2017, pending the issuance of a decision in a New York State Education Law § 3020-a proceeding. The
deadline for re-opening the case was extended four times while we waited for a 3020-a decision to be issued.
Another deadline to reopen, February 28, 2020, is now approaching.

        The Opinion and Award in the New York State Education Law § 3020-a proceeding was rendered on
March 31, 2019. Of the eight charges preferred against Plaintiff, five were dismissed. Petitioner appealed that
portion of the Opinion sustaining the three remaining charges by petition on April 10, 2019, which was amended
on June 7, 2019. Defendant The Long Beach City School District (“the District”) moved to dismiss the amended
petition. The motion was returnable on August 28, 2019. While the appeal is decided in the state court, I am
respectfully requesting an extension of the deadline to reopen this matter for at least six months to August 20,
2020. Defendants’ counsel consents to this request.

         Thank you for your courtesies.

                                                                   Respectfully submitted,

                                                                   /s/Debra L. Wabnik

                                                                   Debra L. Wabnik (dw-0944)

DLW/sh
Honorable Sandra Feuerstein
United States District Court
Eastern District of New York
February 23, 2020
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cc:    Gerald S. Smith, Esq.
       Lewis Silverman, Esq.
       Silverman & Associates
       Via ECF______________
